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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 PAO TATNEFT,

              Petitioner/Plaintiff,

         v.                                                  Civil Action No. 17-582 (CKK)
 UKRAINE,

              Respondent/Defendant.


                                              ORDER
                                            (May 2, 2018)

        On April 17, 2018, Respondent Ukraine filed a [36] Notice of Appeal to the United

States Court of Appeals for the District of Columbia Circuit from this Court’s Order and

Memorandum Opinion, ECF Nos. 33 and 34, entered on March 19, 2018. Ukraine asserts that an

appeal of an order denying a motion to dismiss on sovereign immunity grounds divests this

Court of its jurisdiction until the appeal is resolved, and thus, the case is effectively stayed until

that time. On April 27, 2018, Petitioner Pao Tatneft filed its [38] Response to Respondent’s

Position on a Stay of Further Proceedings in the District Court. Pao Tatneft argues that this

Court retains jurisdiction to adjudicate its Petition to Confirm an Arbitration Award, which

underlies this case, because Ukraine’s remaining objections to the Petition are unrelated to the

issues being considered on appeal. Respondent Ukraine’s [39] Reply in support of its Notice of

Appeal, filed on April 30, 2018, reaffirmed its proffer that where a sovereign files an appeal with

regard to jurisdiction, the district court must wait until the appellate court resolves that threshold

issue before proceeding with the case.

        This Court has reviewed the parties’ submissions and concluded that because the issue of



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this Court’s jurisdiction has been challenged by Ukraine, and that issue is pending before the

Court of Appeals for the D.C. Circuit, this Court currently lacks the jurisdiction required to

resolve any challenges to Pao Tatneft’s Petition. Accordingly, it is this 2nd day of May, 2018,

       ORDERED that all proceedings in this matter shall be STAYED until the D.C. Circuit

issues its mandate in Pao Tatneft v. Ukraine, Case No. 18-7057 (D.C. Cir.).

       SO ORDERED.


                                                             ____/s/__________________
                                                      COLLEEN KOLLAR-KOTELLY
                                                      United States District Judge




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